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. Z. P SON REPRESENTED VOUCHER NUMBER
TNW Shaw, Al]°redO
3. MAG. DKT.IDEF. NUMBF.R 4 DIST DKT »'DEF NUMBER 5 APPEALS DKT »'DEF NUMBER 6 0 EEL '
. . . . . . . . _ _ KT.`_N M n
2:04-020232-001 - fm W‘-J:' n ' y _ m
'l'. IN CASENATTER OF [Case Nlme] S. PAYMEN T CATEGORY 9, TYPE I’ERSON REPRESENTED 10. REPRESENTAT\ON TYPE
e t ti s
U.S. v. Shaw Felony Adult Defendant Hgf%\ermt|qrs 1

 

 

li. OFFENSE(S) C'H ARGED (Cite U.S. Code, Title & Sech`on) lf more than one oHense, list (up to live) major offenses charled. according tn severity of ol`i'ente.

l) 18 922G. F -- UNLAWFUL TRANSPORT/POSSESS/RECEIVE FIREARMS THROUGH INTERSTATE COMME RCE

 
 
   
 

 

 

 

 

nsa-nj " J \',i
12. A'ITORNF.Y'S N ME ir ame . . as e inc u n stl b ‘: -C\ » ""‘
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PARSON KHUMALO, LINDA |I} P suh.~F°t-m¢nlo¢t¢ud¢r El a suh¢Fur na¢maéaaitndieiiffPHfS
P_ O_ BOX 40184 _ m F Subs For Paneldrtorney E:| \' Sg.ndhy Couu"[ ‘
MEMPHIS TN 38174 Prlur Attorney's Name:

 

Appointment Date:

Becauae the above-named person represented has unified under oath or has
otherwise sati.t fled thil court that lte or site (l) ia |'lnaac|allyl unable to employ emnsel and
(901) 832-4059 (2] does not wish to waive eouatel, and became the interem ol']ustice to require, the

,, . .
14. NAME AND MAIL|NG ADt)REss or LAw FIRM only provide personnelan :.‘-t"""y w m mm "’p"" "' mm n i' """'l"'°d '° '°'" °m"'“’"’°" h` ""““"

I:] Other (See lnatru .

Telephnne Nu!llber:

 

     

 

Signature ol’ Freaidi~tg .ludiciai Olficer or By Order ofthe Court
flR/??/?Dfl€
Date ofOrder Nnnc Prn Tune Date

Repaymenl or partial repayment ordered |'rom the person represented for this service at
time of ap olnlmen ll YES El NO

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AI)DITIONAL
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TOTAL
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lS. a. Arraignment and/or Piea

 

 

b. Bail and Detentlon Hearings

 

c. Motion_Hearlngs
d. Trial
e. Sentencing Hearings

 

 

 

 

f. Revocation Hearings

 

.-.-,t:¢n =»-

g. Appeais Court
h. Other (Speeify on additional sheets)

 

 

(Rate per hour - $ ) TOTALS:

 

a. lnterviews and Conlerences

 

b. Obtainlng and reviewing records

 

c. Legai research and brief writing

 

d. Travel time

 

¢. I|We§liigaflv e and ther Wt)l'k tSpeeli'y on additional aheet_¢)

 

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(Rate per hour - $ ) TOTA.LS:

 

 

l'l. Travel Expenses (lodging, parking, meals, mileage. etc.)

 

 

 

IS. Other Expenses

(other than expert transcripts etc.)
11."“~' w '~

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a'r.‘~.~ ¢;u..

19. CERTIFICATION OF ATTORNEYIPAVEE FOR THE PERIOD 0 F SERVICE

 

 

ll]. AP|*O|NTMENT TER.M|NATION DATE
lF OTHERTHAN CASE COMPLETION

   

Zl. CASE DISPO SIT[UN

 

 

FROM TO
12. CLAlM STATUS i:] Filtll l'lyment n lnteritn Payment Number ____ l:i Suppiemeatal Faymenl
Have you previously applied lo the court fir compensation and/or remimhurtement for this cale'.' [:I Y`ES [] NO lfyet, were you paid'.' l:] YES i:l NO
Other than from the coort, have you. or toyour knowledge hal anyone elae, received payment (eompeaaatinn or anything or value) from any other tource in connection with this
representation‘.’ |:l YES i:i NO ll'yel, give details on additional aheets.

l swear or affirm the truth or correctness of the above statements.

Signature ofAttorney: Dale
4 W.

 

   
 

 

 

 

 

 

23. IN COURT COMP. 24. OUT OF COURT COM . 25. TRAVEL EXPENSES 16. ()THER EXPENSES 27. TOTAL AMT. APPR f CERT
28. SIGNATURE OF THE PRESIDING .lUDl(.`lAL OFFlCER DATE 2lla. JUDGE.' MAG. .'iUDGE CODE
29. [N COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES J.'l. TOTAL AMT. API‘ROVED

34. S.:](l§§)¢\;\¢'£%l§§cgsl"n?llgelg§i£Hg(lihlll_.uch$|l§).lzn'l"“g}" APP EALS (OR DELEGATE) Payment DATE`. 341|. .IUDGE CODE

 

 

 

 

 

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Notice of Distribution

Tbis notice confirms a copy of the document docketed as number 49 in
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Linda Parson Khumalo

LAW OFFICE OF LINDA KHUMALO
P.O. Box 40184

Memphis7 TN 3 8174

EdWin C. LenoW

LAW OFFICES OF EDWIN C. LENOW
100 N. Main Street

Ste. 2325

Memphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

